Case 1:15-cv-01734-JLK Document 52-1 Filed 12/01/21 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Civil Action No. 1:15-CV-1734

DENNIS OBDUSKEY, an individual

        Plaintiff,
v.

WELLS FARGO, WELLS FARGO BANK,
WELLS FARGO & CO., WELLS FARGO BANK NA,
WELLS FARGO HOME MORTGAGE, and
MCCARTHY AND HOLTHUS LLP

        Defendants.


     MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR PLAINTIFF, DENNIS
                              OBDUSKEY



        THIS MATTER comes before this Court upon attorney Steven L. Hill’s Motion to

Withdraw as Counsel of Record for Plaintiff, Dennis Obduskey (hereinafter “Motion”).

        THE COURT, being fully advised in the premises, hereby finds that attorney Hill does

not and has not represented Plaintiff, Dennis Obduskey during the last 4 years in this matter and

therefore should be removed from the record as counsel for Plaintiff, Dennis Obduskey.

        THE COURT hereby GRANTS the Motion. Attorney Steven L. Hill is removed from

the record as counsel for Plaintiff, Dennis Obduskey.

        SIGNED AND SO ORDERED this ____ day of ________________, 2021.
Case 1:15-cv-01734-JLK Document 52-1 Filed 12/01/21 USDC Colorado Page 2 of 2




                             BY THE COURT:



                              ________________________________
                              Judge
